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                                          nalCase                                                           Paae1of6


                          U N ITE D STA TE S D ISTR IC T C O U R T
                                                Southern D istrictofFlorida
                                                    FortLauderdaleD ivision

   UNITED STATES OF AM ERICA                                   D DGM ENT IN A CRIM INAL CASE
                        V.
            R AM O N BA TISTA                                   CaseN llm ber:0:16-CR -60190-001
                                                                U SM N um ber:67395-018

                                                                CounselForD efendant:Tam a Beth K udm an and FritzJoseph
                                                                Scheller
                                                                CounselForTheUnited States:Jared M .Strauss
                                                                CourtReporter:DianeM iller
Thedefendantpleaded guiltytocountts)1,3and9 oftheIndictment.
Thedefendantisadjudicatedguiltyoftheseoffenses:
                                                                                              O FFEN SE
TITLE & SEC TIO N                  NA TU RE O F O FFEN SE                                     END ED          C O UN T


jjg:;,
     y)                            jo
                                    au
                                     FlpiracytoCommitwirefraudandaccessdevice (l-
                                                                                yutl
                                                                                   yztlj6 j
 18:1343                           W irefraud                                                 07/20/2016      3
18:1028A(a)(1)            Aggravatedidentitytheft                            07/20/2016 9
The defendant is sentenced as provided in the following pages of thisjudgment.The sentence is imposed
pursuantto the Sentencing Reform A ctof1984.
A lIrem aining counts are dism issed on the m otion ofthe governm ent.
ltis ordeted that the defendant must notify the United States attorney for this districtwithin 30 days of any
change ofnam e,residence,ormailing addressuntila11fines,restitution,costs,and specialassessm entsimposed
bythisjudgmentarefullypaid.Iforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStates
atlorney ofmaterialchangesin econom ic circum stances.




                                                              D ate ofIm position ofSentence:3/27/2017


                                                                        ,         *


                                                              D anielT.K .H urley
                                                              United StatesSeni r D istrictJudge


                                                               Date:          e'-2      uo e         z
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                                          naiCase                                                   Paae2of6


DEFENDANT:M M ON BATISTA
CA SE N U M BER :0:16-CR -60190-001
                                             IM PRISONM ENT
Thedefendantishereby comm itted to the custody ofthe United StatesBureau ofPrisonsto be imprisoned fora
totalterm of51 m onthsas to counts one and three to run concurrently and 24 m onths as to countnine to
run consecutively to the sentence im posed in countsone and three.
The court m akes the follow ing recom m endations to the B ureau of Prisons: that the defendant be
incarcerated in Colem an,Florida.
The defendantis rem anded to the custody ofthe U nited StatesM arshal.

                                                          R ETU RN
1haveexecutedthisjudgmentasfollows:




D efendantdelivered on                                                 to

at                                                  ,with acertifiedcopyofthisjudgment.




                                                             UN ITED STA TES M A R SH A L



                                                             D EPU TY UN ITED STA TES M A RSH A L
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                                    naCriminalCase                                                           Pane3of6


D EFEN D A N T:M M O N BA TISTA
CA SE N U M BER :0:16-CR -60190-001
                                          SUPERV ISED R ELEA SE
Upon release from imprisonment,the defendantshallbe on supervised release fora term of3 yearsas to counts one and
three to run concurrently and 1 year as to count nine to run concurrently with the term of supervised release
im posed in countsoneand three.
The defendantmustreportto the probation office in thedistrictto which the defendantisreleased within 72 hoursofrelease
from thecustody oftheBureau ofPrisons.
Thedefendantshallnotcomm itanotherfederal,state orlocalcrime.
The defendantshallnotunlawfully possessa controlled substance.The defendantshallrefrain from any unlawfuluse ofa
controlled substance.The defendantshallsubmitto one drug testw ithin l5 days of releasefrom im prisonmentand atleast
t'
 w o periodic drug teststhereafter,asdeterm ined by thecourt.
The defendantshallcooperatein the collection ofDNA asdirected by the probation officer.
The defendantshallnotpossessa firearm ,am m unition,destructivedevice,orany otherdangerousweapon.

lfthisjudgmentimposesafineorrestitution,itisacondition ofsupervised release thatthe defendantpay in accordance
withtheScheduleofPaymentssheetofthisjudgment.
The defendantm ustcomply w ith the standard conditionsthathave been adopted by this courtaswellasw ith any additional
conditionson the attached page.
                                STA N DA R D C ON D ITIO N S O F SU PER V ISIO N
    1.Thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
    2.Thedefendantshallreportto theprobation officerand shallsubmitatruthfuland completewritlenreportwithin thefirstt' iheen
       daysofeach m onth;
    3.Thedefendantshallansw ertruthfully al1inquiriesby theprobation officerandfollow theinstructionsoftheprobation officer;
    4.Thedefendantshallsupporthisorherdependentsand meetotherfamily responsibilities;
    5.Thedefendantshallw orkregularlyatalawfuloccupation,unlessexcusedby theprobation officerforschooling,training,or
       otheracceptablereasons;
    6.Thedefendantshallnotify theprobation ofticeratleasttendayspriorto anychangein residenceoremployment,   '
    7.Thedefendantshallrefrain from excessiveuseofalcoholand shallnotpurchase,possess,use,distribute,oradministerany
       controlledsubstanceoranyparaphem aliarelatedto any controlled substances,exceptasprescribedby aphysician;
    8.Thedefendantshallnotfrequentplaceswherecontrolled substancesareillegally sold,used,distributed,oradministered;
    9.Thedefendantshallnotassociatewithanypersonsengagedincriminalactivity andshallnotassociatewith anyperson convicted
       ofafelony,unlessgrantedpermissionto do so by theprobation officer;
    10.Thedefendantshallpermitaprobation oftkertovisithim orheratanytimeathomeorelsewhere and shallpermitconfiscation
       ofany contraband observed in plain view oftheprobationofficer;
    11.'
       T'hedefendantshallnotifytheprobation officerwithin seventptwohoursofbeing arrestedorquestionedby alaw enforcement
       officer;
    l2.Thedefendantshallnotenterintoany agreem entto actasan inform eroraspecialagentofalaw enforcem entagencyw ithoutthe
       perm ission ofthecourt;and
    13.Asdirectedbytheprobation officer,thedefendantshallnotifythirdpartiesofrisksthatm ay beoccasioned bythedefendant's
       criminalrecord orpersonalhistoryorcharacteristicsand shallpermittheprobationofficerto makesuchnotificgtionsandto
       confirm thedefendant'scom pliancewith such notificationrequirem ent.
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DEFENDAN T:RAM ON BATISTA
CA SE N U M BER:0:16-C R -60190-001
                             SPECIA L C O ND ITIO N S O F SU PER VISIO N
Association Restriction-Thedefendantisprohibitedfrom associatingwith (specifypersonsorgroupslorvisiting
gspecifylocationsqwhileonprobation/supervisedrelease.
FinancialDisclosureRequirem ent-Thedefendantshallprovide complete accessto financialinform ation,
including disclosure of a11business and personalfinances,to the U .S.Probation Officer.

M entalHea1th Treatm ent-The defendantshallparticipate in an approved inpatient/outpatientm entalhealth
treatmentprogram.Thedefendantwillcontributetothecostsofservicesrendered(co-payment)basedonability
to pay oravailability ofthird party paym ent.

Perm issible Search -Thedefendantshallsubm itto asearch ofhis/herperson orproperty conducted in a
reasonablem annerand atareasonabletime by the U.S.Probation Officer.

Surrenderingto Imm igration forRem ovalAfterImprisonm ent-Atthe completion ofthedefendant'sterm of
im prisonm ent,the defendantshallbe surrendered to the custody ofthe U .S.lm m igration and Custom s
Enforcem entforrem ovalproceedingsconsistentwith theImm igration andN ationalityAct.Ifrem oved,the
defendçntshallnotreenterthe United Stateswithoutthepriorwzitten permission ofthe Undersecretary for
BorderandTransportation Seclzrity.Thetel'm ofsupervised release shallbenon-reportingwhilethedefendantis
residing outsidetheUnited States.lfthedefendantreenterstheUnited Stateswithin thetenn ofsupervised
release,thedefendantistoreporttothenearestU.S.Probation Officewithin-/2hoursofthedefendant'sarrival.
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D EFEND A N T:R AM O N BA TISTA
CA SE N U M BER :0:16-C R-60190-001
                               CRIM INAL M ONETARY PENALTIES
Thedefendantm ustpay thetotalcrim inalmonetary penaltiesundertheschedule ofpaym entson Sheet6.
                                               Assessment            Fine            Restitution
          TOTALS                                 $300.00             $0.00           $794,418.00
lf the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned
paym ent,unless specified otherwise in the priority order or percentage paym ent colum n below .H ow ever,
pursuantto 18U.S.C.j366449,allnonfederalvictimsmustbepaidbeforetheUnitedStatesispaid.
                                                           T O TAL   RESTITU TIO N       PR IO RITY O R
1NAM E OF PAYEE                                            LOSSw     Ouosuyys            psucsxTxcs
+Findingsforthetotalamountoflossesarerequired tmderChapters 109A,110,1IOA,and 113A ofTitle 18 for
offensescomm itled on orafterSeptember13,1994,butbeforeApril23,1996.
**A ssessm entdue im m ediately unless otherw ise ordered by the Cotu't.
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                                        minalCase                                                  Paae6of6


DEFENDANT:M M ON BATISTA
CA SE NUM BER:0:16-CR-60190-001
                                      SCH E DU LE O F PA YM ENT S
Having assessed the defendant's ability to pay,paym ent of the total crim inalm onetary penalties is due as
follow s:
A.Lump sum paym entof$300.00 dueim m ediately.
F.Specialinstructions regarding the paym ent ofcrim inalm onetary penalties:
Duringtheperiod ofincarceration,paym entshallbemadeasfollows:(1)ifthedefendantearnswagesin a
FederalPrison Industries(UNICOR)job,then the defendantmustpay 50% ofwagesearned toward the
financialobligationsimposed by thisJudgmentin a CriminalCase;(2)ifthe defendantdoesnotwork in
UNICOR job,then the defendant must pay a minimum of $25.00 per quarter toward the financial
obligations im posed in this order.Upon release from incarceration,the defendant shall pay restitution at
the rate of 10% ofm onthly gross earnings,untilsuch tim e as the Courtm ay alter thatpaym entschedule in
theinterestsofjustice. TheU.S.Bureau ofPrisons,U.S.Probation OfficeandU.S.Attorney'sOffieeshall
m onitor the paym ent of restitution and report to the C ourt any m aterial change in the defendant's ability
to pay. These paym ents do not preclude the governm ent from using any other anticipated or unexpected
financialgains,assets or incom e ofthe defendantto satisfy the restitution obligations.
Unlessthe courthasexpressly ordered otherwise,ifthisjudgmentimposesimprisonment,paymentofcriminal
m onetary penalties is due during im prisonm ent.A 11 crim inal m onetary penalties, except those paym ents m ade
through the FederalBureau of Prisons'Inmate FinancialResponsibility Program ,are m ade to the clerk ofthe
court.
The defendant shallreceive credit for a11 paym ents previously made toward any criminalm onetary penalties
im posed.
Thisassessm ent/fine/restitution ispayableto the CLERK ,UNITED STATES COURTS and isto beaddressedto:

U .S.C LER K 'S OFFIC E
A TTN :FIN A N CIA L SEC TIO N
400 N O R TH M IA M I A V ENU E,R O O M 08N 09
M IA M I,FL O RID A 33128-7716
The assessm ent/tine/restitution ispayable immediately.The U .S.Bureau ofPrisons,U .S.Probation Oftice and
theU .S.Attolmey'sOfficeareresponsibleforthe enforcem entofthisorder.
Defendantand Co-DefendantNamesandCaseMumbers(including defendantntlmber),TotalAmount,Jointand
SeveralAm ount,and corresponding payee,ifappropriate.
ICA SE N U M BER                                                                    JO IN T A N D SEV ER AI,
 DEFENDANT A#D CO-DEFENDANT NAMES                             TOTAL AM OUNT AM Osxv
 (INCLUDIN G DEFENDANT NUM BER)
The G overnm entshallfile a prelim inary order offorfeiture w ithin 3 days.
 Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,
 (4)fineprincipal,(5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostof
prosecution and courtcosts.
